             Case 1:15-cv-13715-PBS Document 91 Filed 10/07/16 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

-------------------------------------------------------------------- X

ESTER LELCHOOK, et al.,

                                  Plaintiff,                             Docket No:
                                                                         1:15-CV-13715(PBS)(jgd)
                          -against-

THE ISLAMIC REPUBLIC OF IRAN, et al.,

                                  Defendants.

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                            DECLARATION OF ROBERT J. TOLCHIN



        ROBERT J. TOLCHIN, pursuant to 28 U.S.C. § 1746, declares the following

statements to be true, subject to the penalties for perjury of the United States of America:

        1.       I am an attorney licensed to practice law before the courts of the States of New

York and New Jersey, and am admitted to practice before this Court in this case pro hac vice. I

am counsel to The Berkman Law Office, LLC, 111 Livingston Street, Suite 1928, Brooklyn,

New York 11201, counsel for the plaintiffs in this matter, and I submit this declaration in

opposition to Defendant Bank Saderat PLC’s motion to dismiss for lack of personal jurisdiction

pursuant to Rule 12(b)(2).

        2.       Attached hereto as Exhibit A is a true and correct copy of the Justice Against

Sponsors            of          Terrorism             Act           (“JASTA”),        available    at

https://www.congress.gov/114/bills/s2040/BILLS-114s2040enr.pdf.
            Case 1:15-cv-13715-PBS Document 91 Filed 10/07/16 Page 2 of 4




       3.       Attached hereto as Exhibit B is a true and correct copy of Frey, Jeremy, Will

JASTA Yield More Lawsuits Over Terror, The National Law Journal, Oct. 3, 2016, available at

http://www.nationallawjournal.com/printerfriendly/id=1202769046326.

       4.       Attached hereto as Exhibit C is a true and correct copy of the Sept. 28, 2006

Congressional testimony of Frank C. Urbancic, Principal Deputy Coordinator for

Counterterrorism      at    the    Department       of       State,    available      at     https://2001-

2009.state.gov/s/ct/rls/rm/2006/73352.htm.

       5.       Attached hereto as Exhibit D is a true and correct copy of the proposed amended

complaint filed on July 10, 2016 in Freeman, et al. v. HSBC Holdings Plc, et al., No. 14-CV-

6601 (DLI)(CLP).

       6.       Attached hereto as Exhibit E is a true and correct copy of the January 9, 2009

deferred     prosecution    agreement      for    Lloyds         TSB    Bank       Plc,     available   at

http://www.gibsondunn.com/publications/Documents/LloydsTSB-

DeferredProsecutionAgmt010909.pdf.

       7.       Attached hereto as Exhibit F is a true and correct copy of the December 16, 2009

OFAC         Settlement     Agreement       for         Credit     Suisse      AG,         available    at

https://www.treasury.gov/resource-center/sanctions/OFAC-

Enforcement/Documents/12162009.pdf.

       8.       Attached hereto as Exhibit G is a true and correct copy of the deferred prosecution

agreement           for           Credit          Suisse               AG            available          at

http://www.steptoe.com/publications/Credit%20Suisse%20settlement%20re%20sanctions%20vi

olations%20-%20NY%20County%20DA%20Agr,%20Dec%2016,%202009.pdf.




                                                  -2-
              Case 1:15-cv-13715-PBS Document 91 Filed 10/07/16 Page 3 of 4




         9.       Attached hereto as Exhibit H is a true and correct copy of the March 11, 2015

deferred         prosecution      agreement         for    Commerzbank            AG      available    at

https://www.justice.gov/sites/default/files/opa/press-

releases/attachments/2015/03/12/commerzbank_deferred_prosecution_agreement_1.pdf.

         10.      Attached hereto as Exhibit I is a true and correct copy of the December 12, 2012

deferred        prosecution    agreement      for     Standard     Chartered      Bank,    available   at

http://www.steptoe.com/assets/htmldocuments/1.%20114-1-Standard-Chartered-Bank-

DPA(2).pdf.

         11.      Attached hereto as Exhibit J is a true and correct copy of the State Department’s

webpage             on         Foreign        Terrorist          Organizations,        available       at

http://www.state.gov/j/ct/rls/other/des/123085.htm.

         12.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Dated:        Brooklyn, New York
              October 7, 2016



                                                           Robert J. Tolchin




                                                     -3-
           Case 1:15-cv-13715-PBS Document 91 Filed 10/07/16 Page 4 of 4



                                 CERTIFICATE OF SERVICE


         The undersigned hereby certifies that on the date indicated below a true copy of the

foregoing was served via ECF on all counsel of record herein:


Dated:    Brooklyn, New York
          October 7, 2016

                                                   Robert J. Tolchin
